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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE

Wilmington Trust, National Association,                 CIVIL ACTION NO: 2:20-cv-00049-JDL
Not in Its Individual Capacity, but Solely as
Trustee for MFRA Trust 2015-1

                 Plaintiff

                          vs.                           RE:
                                                        6 Killock Drive, East Waterboro, ME 04030

Wayne E. Etheridge and Kimberly F.                      Mortgage:
Etheridge                                               August 8, 2003
                                                        Book 13303, Page 003

                 Defendants

Midland Funding LLC
Capital One Bank USA NA

                 Parties-In-Interest

                          JUDGMENT OF FORECLOSURE AND SALE

                        Address: 6 Killock Drive, East Waterboro, ME 04030
                         Mortgage: August 8, 2003, Book: 13303, Page: 003

        This matter came before the Court pursuant to the Default entered on May 19, 2020 against

each of the named Defendants and Parties-in-Interest (ECF No. 10), Fed. R. Civ. P.55(b), this

Court's Procedural Order dated June 25, 2020 (ECF No. 12), and the General Orders in response to

the recent outbreak of Coronavirus Disease 2019 (COVID-19) in accordance with the

Pandemic/Infectious Disease Plan for the United States District Court for the District of Maine (March 2020).

        Plaintiff, Wilmington Trust, National Association, Not in Its Individual Capacity, but Solely

as Trustee for MFRA Trust 2015-1 (“Wilmington Trust”), was represented by John A. Doonan, Esq.

None of the Defendants or other Parties appeared or opposed Plaintiff's Motion for Default

Judgment of Foreclosure and Sale. The Court has jurisdiction over the case under 28 U.S.C.A. §

1332.

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        All persons interested having been duly notified in accordance with the law, and after

consideration of the Affidavits with supporting documentary evidence and Memorandum of Law in

Support of Plaintiff's Motion for Default Judgment on Documentary Evidence, the Plaintiff's

Motion for Default Judgment is GRANTED. Count II – Breach of Note, Count III – Breach of

Contract, Money Had and Received, Count IV – Quantum Meruit, and Count V – Unjust

Enrichment are hereby DISMISSED without prejudice at the request of the Plaintiff.

        JUDGMENT on Count I – Foreclosure is hereby ENTERED as follows:

   1.      If the Defendants or their heirs or assigns pay Wilmington Trust, National Association,

           Not in Its Individual Capacity, but Solely as Trustee for MFRA Trust 2015-1

           (“Wilmington Trust”) the amount adjudged due and owing as of August 31, 2020

           (attorney's fees and deficiency are waived) ($305,440.92) within 90 days of the date of

           the Judgment, as that time period is calculated in accordance with 14 M.R.S.A. § 6322,

           Wilmington Trust shall forthwith discharge the Mortgage and file a dismissal of this

           action on the ECF Docket. The following is a breakdown of the amount due and

           owing:

        Description                                                        Amount
        Principal Balance                        $182,194.02
        Interest                                 $68,806.96
        Late Fees                                $167.36
        Total Fees                               $50.00
        Escrow Advance                           $40,070.21
        Recoverable Balance                      $14,121.89
        Pro Rata MIP/PMI                         $30.48
        Grand Total                              $305,440.92

   2.      If the Defendants or their heirs or assigns do not pay Wilmington Trust the amount

           adjudged due and owing ($305,440.92) within 90 days of the Judgment, as that time


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        period is calculated in accordance with 14 M.R.S.A. § 6322, their remaining rights to

        possession of the East Waterboro Property shall terminate, and Wilmington Trust shall

        conduct a public sale of the East Waterboro Property in accordance with 14 M.R.S.A. §

        6323, disbursing the proceeds, first to itself in the amount of $305,440.92 after

        deducting the expenses of the sale, with any surplus to be disbursed pursuant to

        Paragraph 5 of this Judgment, and in accordance with 14 M.R.S.A. § 6324. Wilmington

        Trust may not seek a deficiency judgment against the Defendant, Wayne E. Etheridge,

        pursuant to the Plaintiff's waiver of deficiency in its Motion.

  3.    Pursuant to 14 M.R.S.A. § 2401(3)(F), the Clerk shall sign a certification after the appeal

        period has expired, certifying that the applicable period has expired without action or

        that the final judgment has been entered following appeal.

  4.    The amount due and owing is $305,440.92.

  5.    The priority of interests is as follows:

        •   Wilmington Trust, National Association, Not in Its Individual Capacity, but Solely as

            Trustee for MFRA Trust 2015-1 has first priority, in the amount of $305,440.92,

            pursuant to the subject Note and Mortgage.

        •   Midland Funding LLC has second priority but has been defaulted.

        •   Capital One Bank USA NA has third priority but has been defaulted.

        •   Kimberly F. Etheridge and Wayne E. Etheridge have fourth priority but have been

            defaulted.

  6.    The pre-judgment interest rate is 4.625%, see 14 M.R.S.A. § 1602-B, and the post-

        judgment interest rate is 8.59%, see 14 M.R.S.A. § 1602-C.

  7.    The following information is included in this Judgment pursuant to 14 M.R.S.A. §

        2401(3):

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                           PARTIES                              COUNSEL
PLAINTIFF                  Wilmington Trust, National           John A. Doonan, Esq.
                           Association,   Not       in    Its   Reneau J. Longoria, Esq.
                           Individual Capacity, but Solely as   Doonan, Graves & Longoria, LLC
                           Trustee for MFRA Trust 2015-1        100 Cummings Center
                           1100 North Market                    Suite 225D
                           Wilmington, DE 19801                 Beverly, MA 01915
DEFENDANTS
                           Kimberly F. Etheridge                Defaulted
                           3 Johnson Park Road
                           East Waterboro, ME 04030

                           Wayne E. Etheridge                   Defaulted
                           617 Silverthorn Place
                           Groveland, FL 34736

PARTIES-IN-INTEREST
                           Midland Funding LLC                  Defaulted
                           c/o     Corporation       Service
                           Company
                           45 Memorial Circle
                           Augusta, ME 04330

                                                                Defaulted
                           Capital One Bank USA NA
                           c/o     Corporation      Service
                           Company
                           100 Shockoe Slip, 2nd Floor
                           Richmond, VA 23219


  a) The docket number of this case is 2:20-cv-00049-JDL.

  b) All parties to these proceedings received notice of the proceedings in accordance with the

     applicable provisions of the Federal Rules of Civil Procedure.

  c) A description of the real estate involved, 6 Killock Drive, East Waterboro, ME 04030, is set

     forth in Exhibit A to the Judgment herein.

  d) The street address of the real estate involved is 6 Killock Drive, East Waterboro, ME 04030.


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     The Mortgage was executed by the Defendants, Wayne E. Etheridge and Kimberly F.

     Etheridge, on August 8, 2003. The book and page number of the Mortgage in the York

     County Registry of Deeds is Book 13303, Page 003.

  e) This Judgment shall not create any personal liability on the part of the Defendants, but shall

     act solely as an in rem judgment against the property, 6 Killock Drive, East Waterboro, ME

     04030.



SO ORDERED

DATED THIS 27th DAY OF October, 2020


                                                    ____   /s/ JON D. LEVY______
                                                      CHIEF U.S. DISTRICT JUDGE




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